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8
                     IN THE UNITED STATES DISTRICT COURT
9                      CENTRAL DISTRICT OF CALIFORNIA
10
       MIGUEL IBARRA
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12                   Petitioner,                Case No. 8:19-cv-01764-JLS-DFM
13
       v.                                       JUDGMENT
14

15     NAVIENT SOLUTIONS, LLC
                                                Judge: Honorable Josephine L. Staton
16                 RESPONDENT.
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1
            The Petition for Confirmation of Arbitration Award filed by Petitioner
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      MIGUEL IBARRA was scheduled for hearing on December 5, 2019. The court
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      found the matter appropriate for decision without oral argument.
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            After full consideration of the evidence submitted by the parties, the court
5
      orders as follows:
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            1.     The Court GRANTS the Petition for Confirmation of Arbitration
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                   Award (Dkt. 1).
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            2.     The court CONFIRMS the Arbitration Award (Dkt. 1 Exhibits 2 and
9
                   3).
10
            3.     In accordance with the arbitration award, Respondent Navient
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                   Solutions, LLC is ORDERED to pay Petitioner MIGUEL IBARRA

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                   the sum of $233,725.78 broken down as follows:

14                 a. $226,000.00 From the underlying award for Navient’s Willful and
15                       Knowing Violations of Telephone Consumer Protection Act less
16                       $20,611.48 reflecting Petitioners student loan liability totaling
17                       $205,388.53;
18                 b. $500 in damages under California’s Rosenthal Fair Debt
19                       Collection Practices Act;
20                 c. $7,971.60 in Attorney fees for the initial arbitration proceeding;
21                 d. $13,713.50 in Attorney fees for the appeal arbitration proceeding;
22                 e. $2,493.50 interest on the Arbitration Award at 5%; and
23                 f. $3,658.20 in Attorney fees to confirm the Arbitration Award
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            4.     Post judgment interest governed by the provisions of 28 U.S.C. §
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                   1961 shall be begin accruing on the date this Order is entered.
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1
            IT IS HEREBY ORDERED that Petitioner MIGUEL IBARRA’S Motion to
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      Confirm the Arbitration Award is GRANTED and the Arbitration award is
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      CONFIRMED.
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            IT IS SO ORDERED.
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      Dated: December 20, 2019
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8                                  ________________________________________
9                                       HONORABLE JOSEPHINE L. STATON
                                        UNITED STATES DISTRICT JUDGE
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